            Case 1:16-cv-01534-JEB Document 600 Filed 05/03/21 Page 1 of 15




                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

STANDING ROCK SIOUX TRIBE,
                                                          Case No. 1:16-cv-1534-JEB
                          Plaintiff,                      (and Consolidated Case Nos. 16-cv-1796
                                                          and 17-cv-267)
and

CHEYENNE RIVER SIOUX TRIBE,

                          Plaintiff-Intervenor,
           v.

U.S. ARMY CORPS OF ENGINEERS,

                          Defendant-Cross
                          Defendant,

and
DAKOTA ACCESS, LLC,

                          Defendant-Intervenor-
                          Cross Claimant.



  OPPOSITION OF STANDING ROCK SIOUX TRIBE, CHEYENNE RIVER SIOUX
  TRIBE, OGLALA SIOUX TRIBE, AND YANKTON SIOUX TRIBE TO STATE OF
           NORTH DAKOTA’S OPPOSED MOTION TO INTERVENE
           Plaintiffs Standing Rock Sioux Tribe, Cheyenne River Sioux Tribe, Oglala Sioux Tribe,

and Yankton Sioux Tribe (“Tribes”) file this memorandum in opposition to the State of North

Dakota’s Opposed Motion to Intervene.

      I.        INTRODUCTION

           Following nearly five years of litigation in this case, over one year after this Court

granted summary judgment to the Tribes, some nine months after the Court vacated the easement

over Lake Oahe issued by Defendant U.S. Army Corps of Engineers (“Corps”) to Defendant-

Intervenor Dakota Access, LLP (“Dakota Access”), and over two months after those orders were
           Case 1:16-cv-01534-JEB Document 600 Filed 05/03/21 Page 2 of 15




affirmed for the most part by the D.C. Circuit, and six months following the filing of the Tribe’s

Motion for Clarification and Permanent Injunction, the State of North Dakota (“State”) seeks to

intervene in this action. As justification for its belated motion, the State asserts that at the recent

status conference in this case the Corps changed its position regarding the continued operation of

the Dakota Access Pipeline (“DAPL”) to the extent that the State can no longer “be confident

that the [Corps] will continue to be a zealous advocate for the continued and safe operation of

DAPL.” Mem. Supp. State of North Dakota’s Opposed Mot. Intervene Def. 3, ECF No. 592-1,

Apr. 19, 2021 (hereafter “Mem.”). But the State does not claim that Dakota Access has either

changed its position or will no longer vigorously defend the operation of DAPL.

          The State’s motion to intervene should be denied because it is untimely, and because the

State’s interests in the easement will not, as a practical matter, be impaired if it is denied

intervention, given both the zealousness of the defense of this action by Dakota Access, the

current status of the proceedings in this case, and the State’s status as a permitted amicus curiae.

    II.      THE STATE IS NOT ENTITLED TO INTERVENE AS A MATTER OF
             RIGHT

             A. The Motion is Untimely

                 1. The State Did Not Intervene for Over Four Years While the Parties Litigated
                    the Validity of the Easement and the Potential Shutdown of DAPL

          This case commenced with the filing of a complaint by the Standing Rock Sioux Tribe on

July 27, 2016. Dakota Access moved to intervene as a defendant almost immediately to protect

its interests and was granted intervention. Dakota Access, LLC’s Unopposed Mot. Intervene

Supp. Def., ECF 7, Aug. 5, 2016; Minute Order, Aug. 8, 2016. The other Tribes either intervened

or filed separate actions, which were consolidated with this case by early 2017. Once the

easement was granted on February 8, 2017, the Tribes sought to vacate the easement. E.g., Pl.

Standing Rock Sioux Tribe’s Mem. Supp. Mot. Partial Summ. J. 44-45, ECF No. 117-1, Feb. 14,


                                                   2
        Case 1:16-cv-01534-JEB Document 600 Filed 05/03/21 Page 3 of 15




2017. This Court granted partial summary judgment to the Tribes on June 14, 2017 and ordered

further briefing on whether to vacate the easement pending a decision on remand. Standing Rock

Sioux Tribe v. U.S. Army Corps of Eng’rs, 255 F. Supp. 3d 101, 160-61 (D.D.C. 2017)

(“Standing Rock III”). Numerous interested parties, including the North Dakota Petroleum

Council, filed amicus briefs on the remedy issue. Br. Amicus Curiae N.D. Petrol. Council Opp’n

Vacatur Remand, ECF No. 261, July 20, 2017. The Court decided at that stage not to vacate and

remanded to the Corps. Standing Rock Sioux Tribe v. U.S. Army Corps of Eng’rs, 282 F. Supp.

3d 91, 109 (D.D.C. 2017) (“Standing Rock IV”).

       Following the remand, the Tribes filed motions for summary judgment, which were

granted on March 25, 2020, with the Court ordering the Corps to conduct a full environmental

impact study (“EIS”). Standing Rock Sioux Tribe v. U.S. Army Corps of Eng’rs, 440 F. Supp. 3d

1, 29-30 (D.D.C. 2020) (“Standing Rock V”). The Court then again held a round of briefing on

remedy. Many non-parties to the case, including the State, participated as amici. Amicus Br.

State of N.D. Supp. Defs. & Opposing Vacatur Easement, ECF No. 504, Apr. 29, 20. In its

amicus brief, the State explained its interest in the case as follows: “North Dakota is the second

highest oil and gas producing state, with a significant portion of its economy and tax revenue

derived from the production of oil and gas. A Court ordered shutdown of DAPL would result in a

serious reduction in economic output in North Dakota and corresponding loss of tax revenue to

the state.” Id. at 1-2, ECF No. 504 at 5-6.

       The Court decided to vacate the easement, and it also ordered DAPL to be shut down

within thirty days. Standing Rock Sioux Tribe v. U.S. Army Corps of Eng’rs, 471 F. Supp. 3d 71,

88 (D.D.C. 2020) (“Standing Rock VI”). After the Court denied a motion to stay its order

pending appeal, Dakota Access filed an appeal and an emergency motion to stay pending appeal.




                                                 3
         Case 1:16-cv-01534-JEB Document 600 Filed 05/03/21 Page 4 of 15




Standing Rock Sioux Tribe v. United States Army Corps of Engineers, No. 20-5197, 2020 WL

4548123, at *1 (D.C. Cir. Aug. 5, 2020) (per curiam). North Dakota filed an amicus brief in

support of the motion to stay in the D.C. Circuit. Brief of Amicus Curiae the State of N.D. in

Support of Def. Dakota Access, LLC’s Motion for Stay Pending Appeal, Standing Rock Sioux

Tribe v. United States Army Corps of Engineers, 985 F.3d 1032 (D.C. Cir. 2021) (No. 20-5197),

2020 WL 4000992. Once again, the State asserted that a shutdown would significantly impact it.

Id. at *3 (“A shutdown will result in literally billions of dollars in losses to North Dakota’s oil

industry and will cause drastic reductions in North Dakota’s tax revenue. State programs critical

to the well-being of North Dakotans will have budgets reduced, impairing the State and its

residents. Further, thousands of North Dakotans will lose employment that DAPL makes

possible.”). The State later filed an amicus brief in the D.C. Circuit at the merits stage supporting

Appellant’s arguments and once again emphasizing the impact of a shutdown of the pipeline to

the State. Brief of Amicus Curiae State of N.D. in Supp. of Intervenor for Def.-Appellant,

Dakota Access, LLC & Def.-Appellant U.S. Army Corps, Standing Rock Sioux Tribe v. United

States Army Corps of Engineers, 985 F.3d 1032 (D.C. Cir. 2021) (No. 20-5197), 2021 WL

5250590.

       While the appeal was pending, the Tribes filed their Motion for Clarification and

Permanent Injunction, in which they seek a permanent injunction shutting down DAPL. Mot.

Standing Rock Sioux Tribe, Cheyenne River Sioux Tribe, Oglala Sioux Tribe, and Yankton

Sioux Tribe for Clarif. & a Permanent Inj., ECF No. 569, Oct. 16, 2020. That motion is now

fully briefed and remains pending. The State filed an amicus brief opposing the motion. Amicus

Br. State of N.D. in Supp. of Defs. & Opposing Pls.’ Mot. for Permanent Inj., ECF No. 572,

Nov. 20, 2020.




                                                  4
        Case 1:16-cv-01534-JEB Document 600 Filed 05/03/21 Page 5 of 15




       The validity of the easement to Dakota Access was at issue in this litigation from the day

the easement was granted. As this Court noted when it decided not to vacate the easement

following the grant of partial summary judgment to the Tribes in 2017, “Dakota Access began

pumping oil into the pipeline with full knowledge that Plaintiffs were contesting the easement

allowing them to do so.” Standing Rock IV, 282 F. Supp. 3d at 104. Moreover, because the

validity of the easement was at issue, so too was the continued operation of DAPL. The parties to

the briefing on remedy following the grant of partial summary judgment in 2017 assumed that

vacatur would result in shutting down the pipeline. U.S. Army Corps Br. Regard. Remedy 11,

ECF No. 258 at 12, July 17, 2017 (arguing that vacatur would be disruptive because it would

cause the oil transported by DAPL to be transported by other means); Br. Dakota Access, LLC

Regard. Remedy 13, ECF No. 260 at 18, July 17, 2017 (“Halting the pipeline’s operation would

cause significant economic harm . . .”).

       Throughout this litigation, until now, the State has been content not to seek intervention,

relying on the Corps and Dakota Access to defend the Corps’ actions at issue in this case,

coupled with filing amicus briefs when it saw fit.

               2. The State’s Proffered Reason for Its Belated Motion Is Legally Insufficient

       The State asserts that a “change in the Federal Defendant’s position” announced at the

status conference held April 9, 2021, “is reason to allow North Dakota to participate as a

defendant,” Mem. at 4, ECF No. 592-1, and that because of this so-called change of position by

the Corps, the timeliness of the motion should be judged by the April 9th date of the status

conference. Id. at 13, ECF No. 592-1. The Corps’ decision not to seek en banc review in the

D.C. Circuit cannot be deemed lack of vigorous defense, however, given that “[a]n en banc

hearing or rehearing is not favored and ordinarily will not be ordered . . .,” Fed. R. App. P. 35(a),




                                                  5
        Case 1:16-cv-01534-JEB Document 600 Filed 05/03/21 Page 6 of 15




and that in the D.C. Circuit “petitions for rehearing en banc are frequently filed but rarely

granted.” Handbook of Practice and Internal Procedures of the United States Court of Appeals

for the District of Columbia Circuit 58 (as amended through Mar. 16, 2021); see Aaron L.

Nielson, D.C. Circuit Review—Reviewed: En Banc Review, Yale J. on Reg. Notice & Comment

(Sept. 30, 2017), https://www.yalejreg.com/nc/d-c-circuit-review-reviewed-en-banc-review

(D.C. Circuit decided eight cases en banc from January 2010 to September 30, 2017). Further,

the Corps’ stated position at the status conference as to a possible enforcement action against

DAPL is consistent with filings in this case beginning in April 2020 in which the Corps stated

that if the easement were vacated, then the pipeline would constitute an encroachment and would

be subject to the Corps’ policy regarding encroachments, with a range of resolutions including

removal or outgrant, and further that the Corps and the Department of Justice have discretion as

to enforcement of encroachments. U.S. Army Corps Br. Regard. Remedy 15, ECF No. 507 at 20,

Apr. 29, 2020; U.S. Army Corps Reply Br. Regard. Remedy 11, ECF No. 536 at 16, Aug. 8,

2020; Tr. Teleconference 7-8, ECF No. 561, Aug. 10, 2020; U.S. Army Corps Status Report 3-4,

ECF No. 562, Aug. 31, 2020. What changed at the April 9 status conference was not the Corps’

position but that the Corps had not arrived at a definitive final decision as to whether to take

enforcement action, after stating on August 10, 2020 that it expected a decision as to

enforcement to be made within 60 days. Tr. Teleconference 6, ECF No. 561. Even then,

however, the Corps cautioned that if it did not take enforcement action in 60 days, “in its

discretion the Corps may elect to take enforcement action at any time.” U.S. Army Corps Status

Report 9, ECF No. 562, Aug. 31, 2020.

       It is notable that the State’s purported justification for its belated motion to intervene is

based solely on a purported change of position by the Corps and not by Dakota Access, which




                                                  6
        Case 1:16-cv-01534-JEB Document 600 Filed 05/03/21 Page 7 of 15




has zealously advocated for the continued operation of DAPL throughout this case, as discussed

below at 10-13. Notably, although the State takes the position that the Corps’ failure to file a

petition for rehearing before the D.C. Circuit indicates its abandonment of a zealous defense,

Dakota Access did file a petition for rehearing en banc in this case, which the D.C. Circuit

denied on April 23 without a single judge calling for a vote. Standing Rock Sioux Tribe v. U.S.

Army Corps, No. 20-5197 (D.C. Cir. Apr. 23, 2021) (per curiam). The State did not even bother

to file an amicus brief supporting Dakota Access’s petition for rehearing en banc, although it had

a right to do so. Fed. R. App. P. 29(b)(2).

       The proposition from Smoke v. Norton, 252 F.3d 468, 471 (D.C. Cir. 2001)—that

timeliness is measured from the time that “the potential inadequacy of representation came into

existence”—does not apply here. Even if the Corps’ litigation position has changed, Dakota

Access’s position has not, and it continues to zealously defend the Corps’ actions and the

continued operation of DAPL. See Amador Cty., Cal. v. U.S. Dep’t of the Interior, 772 F.3d 901,

905-06 (D.C. Cir. 2014) (rejecting argument that motion to intervene was timely because

representation had become inadequate).

       The State’s motion is untimely. “Timeliness is measured from when the prospective

intervenor ‘knew or should have known that any of its rights would be directly affected by the

litigation.’” Roeder v. Islamic Republic of Iran, 333 F.3d 228, 233 (D.C. Cir. 2003) (quoting

Nat’l Wildlife Fed’n v. Burford, 878 F.2d 422, 433–34 (D.C. Cir. 1989), rev’d on other grounds

sub nom. Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871 (1990). The State knew its rights were

implicated at least as early as April last year following this Court’s summary judgment ruling,

and it certainly should have known at least as early as 2017 when the Court held briefing on

whether to vacate the easement following the grant of partial summary judgment to the Standing




                                                 7
        Case 1:16-cv-01534-JEB Document 600 Filed 05/03/21 Page 8 of 15




Rock Sioux Tribe and Cheyenne River Sioux Tribe. At that time, amicus North Dakota

Petroleum Council certainly knew that shutting down DAPL was at issue as it filed an amicus

brief urging the Court not to do so. Br. Amicus Curiae N.D. Petrol. Council in Opp’n Vacatur

Remand 2, ECF No. 261 at 5, Apr. 20, 2017 (brief submitted “to provide the Court with

additional information on the disruptive consequences that will directly impact North Dakota oil

producers should the Court vacate and require the shutdown of [DAPL].”).

           B. Disposing of the Action Without the State as a Party Would Not Impede Any
              Legally Cognizable Interest the State Has in This Case

       Given the current status of this case, the State’s purported interest in the continued

operation of DAPL would not be impeded by denying the State’s motion to intervene. Although

the State says that it seeks intervention to address the Monsanto factors, Mem. at 20, ECF No.

592-1, briefing on the injunction motion is completed, and the State has also indicated it would

seek no further briefing. Id. at 2 (“North Dakota seeks no additional or special briefing privileges

. . .”). In fact, the State filed an amicus brief opposing the Tribes’ injunction motion. Amicus Br.

State of N.D. Supp. Defs. & Opposing Pls. Mot. Perm. Inj., ECF No. 572, Nov. 20, 2020.

       In the event that there is further briefing in this Court following a decision on the

injunction motion—for example, a motion to stay the Court’s order pending appeal—the State

may participate as an amicus curiae, as it has in the past. LCvR 7(o) (“[A] state may file an

amicus curiae brief without the consent of the parties or leave of Court.”). In its vacatur decision,

the Court cited the State’s briefs and declarations explicitly:

       Specifically, Dakota Access estimates, “producers would have to shut-in between
       3,460 and 5,400 wells, stranding up to 34.5% of North Dakota crude production.”
       [Dakota Access Brief] at 36; see also, e.g., North Dakota Br. at 8 (estimating that
       “[e]ach of those wells represents 1.6 full time jobs”) (citing ECF No. 504-2
       (Declaration of Lynn Helms), ¶ 10). This would also have a reverberating effect on
       the state of North Dakota, whose economy derives a large part of its revenue from
       oil and gas taxes, largely from the Williston Basin, which includes the Bakken
       fields that supply DAPL. See North Dakota Br. at 2–3; DA Remedy Br. at 4; see


                                                  8
         Case 1:16-cv-01534-JEB Document 600 Filed 05/03/21 Page 9 of 15




        also North Dakota Br. at 2 (explaining that “despite the small overall size of North
        Dakota’s economy, [it] is a large producer of oil and natural gas”).

Standing Rock VI, 471 F. Supp. 3d at 83. Participation as amicus curiae should be sufficient to

protect the State’s interests. See Indep. Petrochemical Corp. v. Aetna Cas. & Sur. Co., No.

CIV.A. 83-3347, 1988 WL 64960, at *2 (D.D.C. June 13, 1988) (denying intervention as of right

to State of Missouri on issue of state law because “[i]ntervention is not necessary . . . . Missouri

will have a full opportunity to present its position on this issue as amicus curiae.”).

        Similarly, in the event of an appeal of the injunction ruling, the State may assert its

position as to the impact of any shutdown on it in the Court of Appeals through amicus briefs, as

it did previously. Fed. R. App. P. 29(a)(2) (“[A] state may file an amicus brief without the

consent of the parties or leave of court.”).

        The State does not claim that it should be granted intervention in order to be able to

appeal if the Defendants do not appeal an injunction. In fact, it anticipates that any decision will

be appealed. Mem. at 14, ECF No. 592-1 (“Regardless of this Court’s decision on the injunctive

relief issue, it will almost certainly be appealed . . . .”). In the highly unlikely event the Court

issued an injunction and the Corps and Dakota Access decided not to appeal, the State could

renew its motion.

        The State discusses the Corps’ views with respect to its discretion to enforce its

encroachment policy, id. at 3, 12, 14, and suggests that it may be seeking to protect an interest

under the Corps’ policy. As of this time, no party has brought an action or a motion to compel a

decision by the Corps or to challenge a decision of the Corps under the encroachment policy.

Moreover, at this time it is entirely speculative whether the Corps will make a decision under

that policy or what that decision would be. Therefore, intervention is unnecessary at this stage to

protect any interest the State may have as to a possible future decision by the Corp on the



                                                   9
        Case 1:16-cv-01534-JEB Document 600 Filed 05/03/21 Page 10 of 15




encroachment by DAPL. Sokaogon Chippewa Cmty. v. Babbitt, 214 F.3d 941, 947-48 (7th Cir.

2000) (whether interest the in outcome of the administrative process was protectable under Rule

24(a) was irrelevant where what the final decision from administrative process would be was

speculative).

       In its Memorandum, the State did not invoke an interest in the outcome of the EIS or a

the decision of the Corps on remand regarding the easement following the EIS, but if it did the

answer would be the same: it is at this point speculative what the outcome would be, and there is

no need to grant intervention now to protect the State’s interests.

       The State also asserts that it has a protectable interest as a sovereign in its own permitting

and regulatory process, Mem. at 16, 18-19, ECF No. 592-1, but the State’s regulatory processes

are in no way implicated in this case.

           C. The State’s Interests Are Adequately Protected by Dakota Access

       The Corps and Dakota Access have zealously defended the Corps’ actions throughout

this case, and the State admits as much, stating that “until the April 9 status conference, North

Dakota was reasonably confident that its interests were being adequately represented by the

existing parties.” Id. at 11. The State argues that the burden of showing inadequacy of

representation is not onerous, id. at 13-14, but the State’s actions in accepting representation by

the Corps and Dakota Access in this case until now, despite the State’s stated interests in the

continued operation of DAPL, and its admission in its motion as to its beliefs concerning such

representation until April 9, show that it has not met even this standard.

       Although the State argues that the Corps is “abandoning its previously vigorous defense”

of DAPL, id. at 2, it makes no such assertion regarding Dakota Access. Undeniably, Dakota

Access has vigorously advocated for the continued operation of the pipeline throughout this

litigation. As the owner and holder of the now-vacated easement, and with millions of dollars in


                                                 10
        Case 1:16-cv-01534-JEB Document 600 Filed 05/03/21 Page 11 of 15




revenue at stake, Dakota Access has every incentive to continue to protect its interests.

Throughout this case, Dakota Access has left no stone unturned. On the same day that the Court

ordered DAPL to be shut down within 30 days, Dakota Access filed a motion to stay and a notice

of appeal. Dakota Access, LLC’s Emer. Mot. Provisionally Stay Remedy Order & Set Exped.

Br’g. Sched. for Mot. Stay Pend’g Appeal, ECF No. 547, July 06, 2020; Civil Notice of Appeal,

ECF No. 548, July 6, 2020. As the Court is well aware, Dakota Access succeeded in obtaining a

stay of that order pending appeal from the D.C. Circuit, Standing Rock Sioux Tribe v. United

States Army Corps of Engineers, No. 20-5197, 2020 WL 4548123, at *1 (D.C. Cir. Aug. 5,

2020), and a reversal of that order. Standing Rock Sioux Tribe v. United States Army Corps of

Engineers, 985 F.3d 103, 10532 (D.C. Cir. 2021). Just recently, Dakota Access filed a long-shot

petition for rehearing in the Court of Appeals and a sur-reply brief in opposition to the injunction

motion, Dakota Access, LLC’s Surreply Opp’n Pl.’s Mot. Clarif. & Perm. Inj. ECF No. 593,

Apr. 19, 2021, supported by several new declarations, two of which directly addressed loss of tax

revenues to the State if DAPL were to shut down. Ex. 6 ¶¶ 26–27 & n.13 (Emery Supp. Dec.)

(filed under seal); Ex. 5 ¶ 5(d)(iii) (Ditzel Supp. Dec.) (filed under seal). After the D.C. Circuit

denied rehearing, and since the State filed its motion to intervene, Dakota Access filed

Intervenor-Appellant’s Motion to Stay Issuance of the Mandate Pending the Filing and

Disposition of a Petition for a Writ of Certiorari, Standing Rock Sioux Tribe v. United States

Army Corps of Engineers, 985 F.3d 1032 (filed Apr. 29, 2021) (No. 20-5197), in which it

indicated that it intends to seek Supreme Court review of the D.C. Circuit’s decision.

        The State does not argue that Dakota Access has not zealously protected its interests, or

that it has in any way indicated that it will no longer do so. Rather, it asserts that it has a right to

intervene notwithstanding Dakota Access’s defense of this case because the State has sovereign




                                                   11
        Case 1:16-cv-01534-JEB Document 600 Filed 05/03/21 Page 12 of 15




interests, whereas the interest of Dakota Access are of a “more limited and commercial

perspective.” Mem. at 4, ECF No. 592-1. The State does not explain the discrepancy between its

acknowledgment that Dakota Access had adequately defended the case before the Corps’

supposed change in position on the one hand, and it suggestion that Dakota Access can no longer

do so on the other. That the State may have sovereign interests does not mean that a court must

find that an existing party does not adequately represent the state’s interests, particularly where,

as here, the State believed its interests to be adequately protected for years and there is a party

that has every incentive to defend the agency’s actions and has done so throughout this case. See

Victim Rts. L. Ctr. v. Rosenfelt, 988 F.3d 556, 561-62 (1st Cir. 2021) (“Nor is perfect identity of

motivational interests between the movant-intervenor and the government necessary to a finding

of adequate representation.”); Elec. Data Sys. Fed. Corp. v. Gen. Servs. Admin., 629 F. Supp.

350, 353 (D.D.C. 1986) (denying Army’s motion to intervene: “the Army has not demonstrated

that the lack of precise parallel among their interests and those represented by the existing

defendants rises to ‘inadequate’ representation. Any shortfalls in presentation of the Army’s

interests can be cured by permitting the Army to enter as amicus.”).

       Further, in opposing the shutdown of DAPL, Dakota Access has always briefed the

potential impacts of a shutdown of DAPL on the State. Br. Dakota Access, LLC Regard.

Remedy 23, ECF No. 260, July 17, 2017 (citing Ex. 5 ¶ 6 (Hanse Dec. 5, ECF No. 260-1));

Redacted Br. Dakota Access, LLC Regard. Remedy 38-40, ECF No. 510 at 44-46, Apr. 29, 2020

(citing Ex. I ¶ 30 (Markholm Dec.)) (tax revenues that the State would lose if the pipeline were

to shut down); Resp. Dakota Access, LLC Opp’n Pls.’ Mot. Clarification & Perm. Inj. 20, ECF

No. 577 at 27, Nov. 20, 2020 (loss in tax revenues to the State); Dakota Access, LLC’s Surreply

Opp’n Pl.’s Mot. Clarif. & Perm. Inj. 5, ECF No. 593, Apr. 19, 2021 (same). Although the State




                                                  12
          Case 1:16-cv-01534-JEB Document 600 Filed 05/03/21 Page 13 of 15




and Dakota Access may have some divergent interests, in terms of defending the continued

operation of the pipeline they are in lockstep.

   III.      THE COURT SHOULD NOT GRANT PERMISSIVE INTERVENTION

          Permissive intervention should be denied as being untimely for the reasons discussed

above. Further, the Court should, in its discretion, deny permissive intervention given that

Dakota Access has zealously defended the pipeline, and will continue to do so, and that the State

may participate as amicus curiae in this Court and in the Court of Appeals. See Victim Rts. L.

Ctr., 988 F.3d at 564 (denying permissive intervention where “the movant-intervenors did not

show that the government would not adequately protect their interests and the amicus procedure

provides sufficient opportunity for them to present their view”); Cigar Ass’n of Am. v. U.S. Food

& Drug Admin., 323 F.R.D. 54, 66 (D.D.C. 2017) (denying permissive intervention where

existing parties were defending requirements proposed intervenor sought to defend “to the

fullest,” and proposed intervenor could participate as amicus); cf. Elec. Data Sys. Fed. Corp.,

629 F. Supp. at 353 (denying intervention as of right by Army and GPO where their interests

were represented by existing parties, GPO was an amicus, and Army could participate as amicus

if necessary).




                                                  13
      Case 1:16-cv-01534-JEB Document 600 Filed 05/03/21 Page 14 of 15




                                     CONCLUSION

      For the foregoing reasons, the State of North Dakota’s Opposed Motion to Intervene

should be DENIED.

Dated: May 3, 2021                        Respectfully submitted,


                                          s/ Michael L. Roy
                                          Michael L. Roy (DC Bar No. 411841)
                                          mroy@hobbsstraus.com
                                          Jennifer P. Hughes (DC Bar No. 458321)
                                          jhughes@hobbsstraus.com
                                          Elliott A. Milhollin (DC Bar No. 474322)
                                          emilhollin@hobbsstraus.com
                                          Hobbs, Straus, Dean & Walker, LLP
                                          1899 L Street NW, Suite 1200
                                          Washington, DC 20036
                                          202-822-8282 (Tel.)
                                          202-296-8834 (Fax)
                                          Attorneys for Oglala Sioux Tribe

                                          Mario Gonzalez
                                          Gonzalez Law Office
                                          522 7th St 202
                                          Rapid City, SD 57701
                                          (605) 716-6355
                                          Of Counsel for Oglala Sioux Tribe


                                          /s/ Jan E. Hasselman
                                          Jan E. Hasselman, WSBA # 29107
                                          Patti A. Goldman, DCB # 398565
                                          Earthjustice
                                          810 Third Avenue, Suite 610
                                          Seattle, WA 98104
                                          Telephone: (206) 343-7340
                                          jhasselman@earthjustice.org
                                          pgoldman@earthjustice.org
                                          Attorneys for Plaintiff Standing Rock Sioux Tribe




                                            14
Case 1:16-cv-01534-JEB Document 600 Filed 05/03/21 Page 15 of 15




                             /s/ Nicole E. Ducheneaux
                             Nicole E. Ducheneaux, DC Bar No. NE001
                             (Pro Hac Vice)
                             Big Fire Law & Policy Group LLP
                             1404 South Fort Crook Road
                             Bellevue, NE 68005
                             Telephone: (531) 466-8725
                             Facsimile: (531) 466-8792
                             nducheneaux@bigfirelaw.com
                             Attorney for Intervenor-Plaintiff Cheyenne River
                             Sioux Tribe


                             /s/ Jeffrey S. Rasmussen
                             Jeffrey S. Rasmussen, WA #21121
                             (Pro Hac Vice)
                             Patterson Earnhart Real Bird & Wilson LLP
                             1900 Plaza Drive
                             Louisville, CO 80027
                             Phone: (303) 926-5292
                             Facsimile: (303) 926-5293
                             Email: jrasmussen@nativelawgroup.com

                             /s/ Rollie E. Wilson
                             Rollie E. Wilson (D.C. Bar No. 1008022)
                             Patterson Earnhart Real Bird & Wilson LLP
                             601 Pennsylvania Avenue, NW
                             South Building, Suite 900
                             Washington, D.C. 20004
                             Phone: (202) 434-8903
                             Facsimile: (202) 639-8238
                             Email: rwilson@nativelawgroup.com
                             Attorneys for Yankton Sioux Tribe and Robert Flying
                             Hawk




                               15
